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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


                                )
UNITED STATES OF AMERICA        )
                                )
V.                              )       Crim. No. 15-cr-10271-WGY
                                )
ALEX LEVIN                      )
                                )


         DEFENDANT’S MOTION FOR RELEASE WITH CONDITIONS


     The defendant, Alex Levin, moves that this Court release

him with conditions pursuant to 18 U.S.C. § 3142(c). As grounds

therefore, the defendant states he has strong ties to

Massachusetts, no prior criminal record, a long history of

gainful employment, and a significant amount of support from the

community. The government cannot meet its burden of showing by a

preponderance of the evidence that the defendant is a flight

risk nor show by clear and convincing evidence that the

defendant is a danger to the community.

                       Procedural Background

     The defendant was arrested on August 12, 2015 at his home

in Norwood, Massachusetts. This Court held a detention hearing

on August 17, 2015. The Court held the defendant pending

completion of an investigation by Probation. The Court conducted

a second detention hearing on August 21, 2015. The Court again




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detained the defendant but gave leave to counsel to return with

an acceptable proposal for release.

      On September 17, 2015, the grand jury returned an

indictment charging the defendant with one count of possession

of child pornography under 18 U.S.C. § 2252A(5)(B) and one count

of criminal forfeiture under 18 U.S.C. § 2253. The defendant was

arraigned on the indictment on October 7, 2015. At arraignment,

the Court indicated that it would reconsider a motion for

release subject to an updated report from Probation regarding

the suitability of a proposed third party custodian.1

                    Proposed Conditions of Release

      The defendant respectfully moves that the Court release him

subject to the following conditions:

    1. The defendant must reside with his parents, Yefim Levin and

      Bertha Levin, at their apartment located at 244 Belmont

      Street, #602, Worcester, Massachusetts.

    2. The defendant’s mother, Bertha Levin, shall serve as a

      third-party custodian.2

    3. The defendant shall be required to wear an electronic

      monitoring bracelet at all times.


1
  The Court denied without prejudice the defendant’s motion for
Probation to assess the suitability of a third-party custodian
since none had yet been proposed. The defendant will move for
reconsideration of this motion prior to a hearing on the motion
for release on conditions.
2
  Bertha speaks English fluently whereas Yefim does not.

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    4. The defendant shall have a curfew between the hours of 8:00

      p.m. and 7:00 a.m.

    5. The defendant shall not access the internet without prior

      court approval.

    6. The defendant shall not have unsupervised contact with a

      child under the age of 18 with the exception of his

      daughter as long as said contact is not prohibited by the

      Massachusetts Department of Children and Families or by

      order of any court.3

    7. The defendant shall surrender his passport to Probation.

    8. The defendant shall report to Probation at the discretion

      of Probation.

                      Background of the Defendant

      The defendant, Alex Levin, is a 49 year old citizen of the

United States with no prior criminal record. He has a long

history of gainful employment and strong ties to the community.

He was born and raised in Belarus (then part of the Soviet

Union) with his family. His father, Yefim, worked as a welder

and his mother, Bertha, worked as a civil engineer. Alex and his

family suffered a significant amount of anti-Semitism in the

Soviet Union and emigrated in 1979 when he was 13 years old.



3
  The defendant has not identified the child by name in this
pleading so as to safeguard her privacy. Her name will be
provided to Probation.

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     The family lived briefly in Italy before settling in

Worcester, Massachusetts. Alex flourished in the United States.

He graduated Doherty Memorial High School in Worcester in 1984.

Four years later, he graduated from Central New England College

of Technology with a bachelor’s degree in computer science. He

continued his education, obtaining a master’s degree in computer

science from Fitchburg State University in 1992.

     Alex has worked in the technology field for over twenty-

five years. He has served as a director of information

technology, a system architect and a project manager. He founded

his own technology consulting company, “AL Technology, LLC.” In

2014, he attained a full-time position with an India-based

consulting company. He held this position up to the time of his

arrest.

     Alex has a significant amount of support from his brother

Gregory, his parents, and his girlfriend of three years, Lynn.

Most significantly, Alex is the devoted father of a nine-year

old daughter. Alex and his daughter have remained extremely

close following his divorce from her mother several years ago.

Alex has visitation with his daughter every Wednesday and every

other weekend, and they spoke on the telephone every day. The

sudden and complete separation caused by Alex’s arrest has been

devastating to both of them.




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                               Argument

     To detain a defendant prior to trial, the government must

demonstrate by a preponderance of the evidence that the

defendant poses a risk of flight, or by clear and convincing

evidence that he is a danger to the community. 18 U.S.C. § 3142;

United States v. Patriarca 948 F.2d 789, 793 (1st Cir. 1991).

The Court may impose conditions in lieu of detaining the

defendant in order to ensure the defendant’s appearance and

protect the safety of other persons and the community. 18 U.S.C.

§ 3142(c). The defendant is charged with one count of simple

possession of child pornography, pursuant to 18 U.S.C. §

2252A(a)(5), based on visual depictions he allegedly downloaded

to his home computer. This allegation does not invoke a

presumption of detention. Contrast 18 U.S.C. § 3142(e)(3).

     There is no reason to believe that the defendant is a

flight risk. He is a middle-aged man who has at all times in his

life been a productive member of the community. It is no

exaggeration to say that his entire world – his parents, his

long-term girlfriend, his beloved daughter – is in

Massachusetts. His employment history, with the exception of

three years he spent working for Compaq in Texas, is in

Massachusetts. He has no desire to leave the Commonwealth, and

remains anchored by his strong ties to his family.




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     The government similarly cannot show that the defendant

poses a danger to the community. This is not to gainsay the

seriousness of allegations involving child pornography, yet

there is nothing in the defendant’s personal history to suggest

that he has ever posed a danger to a child in any way. He has no

history of violence or sexual misconduct toward a person of any

age. Moreover, as an added assurance to this Court, the

defendant has proposed a condition that he have no unsupervised

contact with any child under the age of 18, with the exception

of his daughter as long as that contact is not otherwise

prohibited. Respectfully, the defendant submits that the

question of whether the defendant should continue to have

contact with his daughter is one best delegated to the child’s

mother, child welfare officials and, if necessary, the Probate

and Family Court.

     The defendant proposes to reside with his parents in

Worcester. His mother Bertha is willing to serve as a third-

party custodian. The apartment complex in which they reside

consists of elderly housing. They have a two-bedroom apartment

and would welcome Alex into their home. Both of his parents

participate in a nearby elder care program in West Boylston. In

addition, a home health aide visits them during the day. They

have no assistance at night, and would benefit from having their

son in the home.

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     It is appropriate that the defendant be permitted to live

with his parents. This living situation would not bring him into

contact with children. His parents would be present with him

every night, and are willing to password-protect their computer.

Probation would be able to monitor the defendant’s compliance

with his curfew via his electronic monitoring bracelet. The

defendant is willing to submit to any other conditions that this

court deems appropriate.

                              Conclusion

     The defendant is an appropriate candidate for release

pursuant to 21 U.S.C. § 3142(c). It is clear that he is neither

a flight risk nor a danger to the community. He is 49 years old

with no prior history of criminal behavior, violence or sexual

misconduct. He is tethered to the community by the unyielding

support of his family and girlfriend. He is a dedicated father

who wants nothing more than to begin to heal the trauma that his

arrest has caused to his daughter. He is willing to reside with

his parents and be subject to electronic monitoring and other

appropriate conditions. For these reasons, the defendant

respectfully moves that this Court release him subject to

conditions.

                       REQUEST FOR A HEARING

     The defendant requests a hearing on this motion.




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                                       ALEX LEVIN
                                       By His Attorneys,

                                       CARNEY & ASSOCIATES


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                       Certificate of Service

     I hereby certify that this document filed through the ECF
system will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-
registered participants on or before the above date.


                                       J. W. Carney, Jr.
                                       J. W. Carney, Jr.




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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                )
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V.                              )        Crim. No. 15-cr-10271-WGY
                                )
ALEX LEVIN                      )
                                )

                       AFFIDAVIT SUPPORTING
          DEFENDANT’S MOTION FOR RELEASE WITH CONDITIONS


     I, J. W. Carney, Jr., state that the facts contained in the

attached motion are true to the best of my information and

belief.



     Signed under the penalties of perjury.




                                         J. W. Carney, Jr.
                                         J. W. Carney, Jr.



November 2, 2015




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